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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Delaware

PROLITEC INC.

Plaintiff(s)
Vv.
SCENTAIR TECHNOLOGIES, LLC

Civil Action No. 20-984-UNA

Defendant(s)

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SUMMONS IN A CIVIL ACTION

ScentAir Technologies, LLC
c/o Cogency Global Inc.

50 New Burton Road

Suite 201

Dover, DE 19904

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,

whose name and address are: McCarter & English, LLP

Brian R. Lemon, Esq.
Renaissance Centre
405 N. King St., 8th Flr.
Wilmington, DE 19801

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

/s/ John A. Cerino
Date: 04/13/2020

Signature of Clerk or Deputy Clerk

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Civil Action No. 1:20-cv-00984-UNA

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, if any) ScentAir Technologies, LLC

was received by me on (date) 07/24/2020

C1 I personally served the summons on the individual at (place)

on (date) 3 or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

1 served the summons on (name of individual) Erika Plez @ 3:40 p.m. , who is

designated by law to accept service of process on behalf of (name of organization) Cogency Global, Inc, 850 New

Burton Road, Suite 201, Dover, DE 19904 on (date) 07/24/2020 » Or

C1 T returned the summons unexecuted because ; or

O Other (pecify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: ___ 07/24/2020 Ay fl C( C Ld XO © 7]

Server's ign ign ture

Tina Irizarry-Process Server
Printed name and title

Parcels Inc.
1111B S. Governors Ave.
Dover, DE 19904

Server's address

Additional information regarding attempted service, etc:
